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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                              Jacksonville Division
____________________________________
                                     )
ZIJAD BOSNIC,                       )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )       Case No. 3:17-cv-826 (TJC/JBT)
                                    )
CHRISTOPHER WRAY, et al.,           )
                                    )
      Defendants.                   )
____________________________________)

    CONSENT MOTION TO EXTEND DEFENDANTS’ DEADLINE BY WHICH TO
      ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

       Defendants respectfully move the Court for a brief extension of time—from February 6,

2018 to February 15, 2018—in which to answer or otherwise respond to Plaintiff’s Complaint in

the above-captioned matter. The undersigned defense counsel has conferred with Plaintiff’s

counsel, who consents to the requested relief.

       The U.S. Attorney’s Office for the Middle District of Florida, Jacksonville Division, was

served with Plaintiff’s Complaint via certified mail on December 8, 2017; accordingly,

Defendants’ deadline to respond to the Complaint is currently February 6, 2018. In light of other

litigation obligations, defense counsel respectfully requests a brief extension of time to answer or

otherwise respond to the Complaint. Specifically, Defendants request that they be granted until

February 15, 2018 to respond to the Complaint; this extension, if granted, would allow

Defendants nine additional days to prepare their response. Pursuant to Local Rule 3.01(g),

Plaintiff consents to the requested relief.



Dated: January 30, 2018                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 30, 2018, I filed the foregoing via the CM/ECF system,

which will send a Notification of Electronic Filing to:

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